  Case 3:12-cr-00088-DCB-FKB        Document 396       Filed 12/03/15    Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             JACKSON DIVISION


UNITED STATES OF AMERICA

VS.                           CRIMINAL CASE NO. 3:12-cr-88-003(DCB)(FKB)
                                        CIVIL ACTION NO. 3:15-cv-85(DCB)

WILLIE EARL CULLEY                                                          DEFENDANT


                                        ORDER

      This cause is before the Court on the United States of

America’s motion for affidavit from defendant William Earl Culley’s

former counsel (docket entry 394), and on the government’s motion

for   additional    time      (docket    entry        395)   to   respond      to   the

defendant’s     motion   to    vacate,    set     aside      or   correct    sentence

pursuant to 28 U.S.C. § 2255.           The Court finds as follows:

      The defendant’s motion pursuant to 28 U.S.C. § 2255 alleges

ineffective     assistance     of   counsel      with    regard     to   his   former

counsel, the Honorable Terence L. High. The government states that

it needs the record to be developed through an affidavit from

attorney High in order to respond to the defendant’s allegations.

The government also seeks additional time to file its response to

the defendant’s motion to vacate under § 2255.

      Accordingly,

      IT   IS   HEREBY   ORDERED      that      the    government’s      motion     for

affidavit from defendant’s former counsel (docket entry 394) is

GRANTED;
  Case 3:12-cr-00088-DCB-FKB   Document 396   Filed 12/03/15   Page 2 of 2



     FURTHER ORDERED that the government furnish copies of the

defendant’s motion to vacate under § 2255 to Terence L. High, Esq.,

former counsel for the defendant in the above-referenced criminal

proceedings; and that said former counsel for the defendant respond

to the allegations made by the defendant in his motion, within

thirty (30) days from the date of entry of this Order, by written

affidavit, said affidavit to be furnished to the government;

     FURTHER ORDERED that the government’s motion for additional

time (docket entry 395) to respond to the defendant’s motion to

vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

is GRANTED;

     FURTHER ORDERED that the government shall file its response to

the defendant’s motion to vacate under § 2255 no later than thirty

(30) days after the submission of the above-referenced affidavits.

     SO ORDERED, this the 3rd day of December, 2015.



                                       /s/ David Bramlette
                                       UNITED STATES DISTRICT JUDGE




                                   2
